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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                              SOUTHERN DIVISION
11   RACHAEL A. WENDEL,                     )   No. 8:20-cv-01261-JDE
                                            )
12                                          )
                       Plaintiff,           )   ORDER AWARDING ATTORNEY
13                                          )
                  v.                        )   FEES UNDER THE EQUAL
14                                          )   ACCESS TO JUSTICE ACT,
     KILOLO KIJAKAZI, Acting                )
                                            )
                                                PURSUANT TO 28 U.S.C. § 2412(d)
15   Commissioner of Social Security,
                                            )   AND COSTS PURSUANT TO 28
                                            )   U.S.C. § 1920
16                     Defendant.           )
                                            )
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           Based upon the parties’ Stipulation, IT IS ORDERED that Plaintiff shall
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     be awarded attorney’s fees and expenses of $3,211.54 under 28 U.S.C.
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     § 2412(d) and costs of $400 under 28 U.S.C. § 1920, subject to the terms of the
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     above-referenced Stipulation.
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     Dated: October 27, 2021
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                                                 ______________________________
25                                               JOHN D. EARLY
                                                 United States Magistrate Judge
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